      Case 1:09-cr-00018-PB   Document 72   Filed 09/24/10   Page 1 of 2




                     UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW HAMPSHIRE


United States of America

     v.                                  Criminal No. 09-cr-18-02-PB

Jordan Manning


                                o R D E R

     On today's date, defendant appeared for a "probable cause"

hearing under Fed. R. Crim. P. 32.1 on a superceding petition

alleging violations of conditions of supervision.            Specifically,

the petition charges that defendant admitted to using cocaine and

Percocet not prescribed to him.

     Defendant stipulated to probable cause on the violations. I,

therefore, find probable cause that Defendant has violated the

conditions as charged in the petition.

     Defendant sought bail conditions under Rule 32.1(a) (6).

Under Rule 32.1(a) (6), defendant bears the burden of establishing

by clear and convincing evidence that he will not flee and that

he poses no danger to any other person or to the community.

Based on the evidence presented at today's hearing, as well as

the hearings on August 25, September 8, and 15, 2010, and for the

reasons stated on the record at each hearing, defendant has

failed to meet his burden of persuading the court that he poses

no danger to himself or to the community. There are no conditions


                                     1
        Case 1:09-cr-00018-PB   Document 72   Filed 09/24/10   Page 2 of 2




or combination of conditions that defendant is likely to abide

by.

        The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.       The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel.                   On

order of a court of the United States or on request of an

attorney for the government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection

with a court proceeding.

        SO ORDERED.




                                                                    Judge

Date:     September 24, 2010

cc:     Bjorn Lange, Esq.
        Mark S. Zuckerman, Esq.
        U.S. Probation
        U.S. Marshal




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